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                      IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              TALLAHASSEE DIVISION

REGINALD L. LUSTER,                 )
                                    )
      Petitioner,                   )
                                    )               CASE NO.: 4:19-cv-541
v.                                  )
                                    )
                                    )
                                    )
SECRETARY, Florida Department       )
      of Corrections, et al.,       )
                                    )
      Respondents.                  )
____________________________________)

       UNOPPOSED SECOND MOTION FOR EXTENSION OF TIME TO FILE
            OBJECTIONS TO REPORT AND RECOMMENDATION

       COMES NOW Reginald L. Luster, through counsel, and files this motion for an

extension of 15 days to file his Objections to Magistrate Judge M. Frank’s Report and

Recommendation, and asserts as follows:

       1.     On November 11, 2019, Mr. Luster filed his habeas petition under 28 U.S.C.

§ 2254, and he filed an amended petition on December 12, 2019.

       2.     On May 29, 2020, the Respondent filed its response to the amended petition.

       3.     On July 10, 2020, Mr. Luster filed his reply in support of his petition.

       4.     On November 23, 2021, Magistrate Judge M. Frank filed his Report and

Recommendation.

       5.     Mr. Luster’s 14-day deadline to file his objections to the Report and

Recommendation initially was set to occur on December 7, 2021.

       6.     This Court granted Mr. Luster one prior extension of 30 days until January 6,

2022, to which counsel for the Respondent had no objection.


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       7.      Mr. Luster needs an additional extension of 15 days in order to complete and file

his Objections. Counsel anticipates that no further extensions will be needed.

       8.      Undersigned counsel certifies that he has consulted with counsel for the

Respondent, Thomas Duffy, via e-mail. Mr. Duffy has no objection to the requested extension.

       9.      This motion is filed in good faith and not for purposes of delay.

       WHEREFORE, Mr. Luster requests this Court to grant his extension of 15 days to file his

Objections to the Report and Recommendation, establishing a new deadline of January 21, 2021.


DATED January 5, 2022.

                                              DREYER, FOOTE, STREIT,
                                              FURGASON & SLOCUM, P.A.




                                              Joseph S. Hamrick
                                              Attorney for Mr. Luster


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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy hereof has been furnished the Office of the Attorney
General, by email at Thomas.Duffy@myfloridalegal.com and crimapptlh@myfloridalegal.com
on January 5, 2021.

                                                                   /s/ Joe Hamrick
                                                                 ATTORNEY



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